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ROBIN L. HOOTER
CLERK OF COURT t§:' RAPIDES PARISH
P. O. Box 952, Alexand:ria, Louisiana 71309

Phor\e (33.8} 473-8153 Fax {318) 473~4667 Civil Pax (318)/&
wwwrapidesclerk.org "

  
   

 

 

CITATION NO. 255,705 9

KENNETH r. PEREGO II F.T AL |! NINTH JUDICA.L DISTRICT cou.=w
vERSUs |§ PARISH cF mPIDEs
ACADIA HEALTHCM\): Co;~xPANY INC ET m. §§ S'rm‘x§ oF wvxsmm

TO: ACADIA E{EALTHCARE COMPI\NY INC
DEA LONGLEAF HOSPITAL 44 VT:ERSAILL»ES BLVD
ALEXAN'DRIA LA 71303-0000
RAPIDES PARISH

YOU ARE HERBBY SUNHONED 'I‘O COHPLY '.'IITH 'I‘H.E D'EMAND CONTAINED IN THE PLEADING(S) FILED IN THE ABOVE ENTI’I‘LED
AND NUMBERED CAUSE, A DULY CERTIE'IED COPY IS A‘I"PACIIED AND *I.`O B.':`. SER.VED. OR l-`ILE YOUR ANSE'€'ER OR OTHER PLEADINGS
IN 'I‘HE OPFICE OF THE CI,-ERK OI" THE NINTH JUDICIAL DIS’£‘RIC’I‘ COURT, R:\PIDBS PAR.ISH, CI"I‘Y O[" ALEXANDRIA, ‘.YITHIN
FIFTEEN(J.§) DAYS A.`E"TER SERVICI:`. HERE()F. YOU MAY FILE YOUR WRI"I"'I`EN ANS§\'ER OR PLEADING IN PERSON' OR BY MAIL.

IF YOU FILE BY MAIL, THE PLEADING I'lUST BE RECI:`.IVED BY THE ISTH DAY. Y`OU'R `:F`AILURE TO COI\!PLY ‘:|ILL¢ SUBJEC'I` YUU
’J.`O 'I‘IIE PENAL’I‘Y Ol'~` ENTRY OF DEFAULT JUT)GNENT AGAINST ‘[OU.

WITNESS THE HONORAHLES. THE JUDGBS oF SAID COUR'!‘, A'r ALBXANDRIA, LOUISIANA,
THIS rlTx-: mw oF r-IAY. 2016.

'.".‘HE FOLLO!'|ING PLE$LDINGS ARE ATTACHED FDR SERVICE: PB'I‘ITION 1"'0 RDF\MAGES/REQUEST E`OR 'I‘RIAL,
B‘{ JURY.

ROBIN L . HOOTER

JII-H'SY R FAIRCLOTH JR

105 ‘[ORK'I‘OWN DRIVE
ALEXANDRIA LA 71303'-0000
Filing Atcorney

 

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DIVISION _W

KENNETH L. PEREGO, II, individually NINTH JUI)IC!AL DIS'I`RICT COURT
and on behalf of his minor son,
KENNETH L. }’EREGO, III
and WENDY PEREG()
VERSUS PAR}SI~I OF RAPIDES
ACADIA HEALTHCARE d/b/a STA'I`E {)F LOUISIANA
LONGLEAF HOSPITAL

PETI'I`ION FOR DAMAGES

 

NOW INTO COUR'I`, through undersigned counsel, comes KENNETH L. PEREGO, ll
individually and as the natural tutor of his minor son, KENNETH L. PEREGO, llI and WENDY
PEREGO (liereinaiter also referred to as “l£’laintiffs”)1 both residents of the full age of majority of
Rapides Parish, State of Louisiana, who respectfully represent as follows:

1.

The defendant in this action is ACADIA I~IEALTHCARE COMPANY, iNC.
(“ACADIA”), a foreign corporation situated and having its principal office in Franl<lin, Tennessee
and doing business in Alexandria, louisiana as Longleafl~lospital.

2.

Jurisdiction is appropriate in this Court pursuant to Lonisiana Code of Civil Proceciure
article 6 and La. R.S. 13:34?1(1).

3.

Venue is appropriate in this Conrt pursuant to Louisiana. Cede cf Civil Procedure article
42(5).

4.

Acadia is justly and truiy liable and indebted to Plaintiffs for damages, injuries and losses
they each sustained, together with legal interest from the date of judicial demand and all costs of
these proceedings, for the incidents Which occurred at LongleafI-Iospitai as described herein

5.
Longleaf Hcspitaf is an inpatient treatment center for individuals with behavioral and

mental health issues

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6.

Upon information and beliei`, Loiigleaf is not a qualihed healthcare provider subject to the

Louisiana lv[edicai Malpractice Act, La. R.S. 40:1?,31.] , et seq.
7.

011 October 2, 2015, KENNETH L. PEREGO, IIi (“Kenny”) was admitted on a Physician’s
Einergency Certiiicate (“PEC") to Longleaf Hospital. The PEC stated that Kenny was suicidal
and dangerous to himself

8.

In addition to the PEC, during the patient admission process, the intake coordinator at
Longleaf, believed to be ”l`anya Coffey, was advised that Kenny was anxious, suicidal and
dangerous to himselfl

9.

On the day of his admission and while in the care and supervision of Longleaf, despite the
known suicide risk, Kenny was left in a room with more than 30 other juveniies, all believed to
have defiance and/or opposition disorders, with little or no supervision from the Longleaf staff
During that time, Kenny became extremely anxious and upset and feared imminent death.

10.

Aii'aid, Kenny called his parents, Kenneth and Wendy Perego, in distress and repeatedly

emphasized that he feared for his life
ll.

Coneenied for Kenny’s life, Kenneth and Wendy drove to I.ongleaf where they were not
ailowed to see or fails to their son. They were informed by the employee working at the front desk,
whose name is unknown, that they would have to leave and call the facility in order to speak to a
Longleaf employee about their son.

]2.

As instructed, Kenneth then called the hospital and spoke to a nurse, believed to be Karis

Reeves, who agreed to meet Kenneth and Wendy in person. She assured the Peregos that Kenny

was safe and properly supervised

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13.

After his parents’ departure despite the assurances and the known suicide risk, Kenny
was left in a room alone and unsupervised where he hung himself from television cables in the
room.

14.

Longleaf, including its employees who were acting in the course and scope of their
employment, had a duty to properly supervise and protect Kenny Who was in their custody and a
known suicide rislc. Its failure to do So was la breach of that duty.

15 .

In accordance with Louisiana Civil Code article 2320, Acadia (d/b/a Longleat) is

responsible for the damages occasioned by the actions and/or inactions of its employees
16.

As a direct and proximate result of Longleaf’ s negligence willful or wanton negligence
carelessness, recklessness andfor gross misconduct Kenny hung himself and thereby incurred
significant brain injury

17.

In accordance with Louisiana Civil Code article 2315, Kenny is entitled to an award for
pain, agony and suffering mental and emotional anguish and distress, loss of enjoyment of life,
loss of eamings, loss of eam.ing capacity, and past, present and iiiture medical and psychiatric
treatment, specialized education and all other category(ies) of damages recoverable under
louisiana Civil Code article 2315, plus legal interest in amounts which shall be proven at trial.

lS.

As a direct and proximate result of the above described negligence willful or wanton
negligencel carelessness, recklessness and/or gross misconduct of Longleai°, Kennetli Perego, ii
has sustained damages for past, present and nature loss of support, consortium, service, society,
cornpanionship, feiicity, security, aid, assistance1 affection and love of his son as well as mental
anguish, grief, distress, and any and all other category{ies) of damages recoverable pursuant to
Louisiana Civil Code article 2315, plus legal interest in amounts which shall be proven at trial.

19.
As a direct and proximate result of the above described negligence willnil or wanton

negligence carefessness, recklessness and/or gross inisconduct, Wendy Perego has sustained

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damages for past, present and future loss of support, consortium serviee_. society, eompanionship1
felieity, security, aid, assistanee, affection and love of her son as well as mental anguish, grief and
distress, and any and all other category(ies) of damages recoverable pursuant to I,ouisiana Civil

Cocle article 2315, plus legal interest in amounts which shall he proven at trial.

WHEREFORE, Pfaintiffs, Kenneth Perego, II, Wendy Perego and Kenneth Perego, lII,
respectfully pray as follows:

a) That a copy of this Petition be served on Defendant, Acadia Healtheare Company,
lne.;

b) 'l`hat said Defendant be cited to appear and answer the same;

e) That atter all due proceedings are had, there be a judgment rendered against

Defendant in favor ofPlaintiffs, in the amount to be determined by the trier of fact,
which will fully compensate Plaintiffs for all damages suffered by them, together
with legal interest from date of j udicial demand, and all costs of these proceedings;

d) That this I~lonorable Court afford Plaintiffs all general and equitable relief as is
necessary to fizlly compensate them herein; and

t) A trial by jury on ali issues

   
   

Respec€tixlly submitted,

FAIRCLOTH, MELTON & SOB

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105 Yorktown Drive

Alexandria, LA 71303

Phone (318) 619~7755

Fax (318} 619-7744

 

By:

 

PLEASE SERVE:

ACADIA~HEALTHCARE COMPANY; INC.,
D/B/A'LONGLEAF HOSPITAL-

44 Vei'sailles Blvd.'

Alexandria, LA 71303 "

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KENNETH L. PEREGG, II, individually
and en behalf of his minor sou,

N[N'I`I~l JUDIC'IAL DISTRICT COURT
KENNETH L. PEREGO7 III

 

and WENDY PEREGO
VERSUS PARISH OF RAPIDES
ACABIA I~IEALTIICARE d}b/a STATE OF LOUISXANA
L(JNGLEAF HOSPITAL
VERIFICATION
STATE OF LOUISIANA

PARISH OF RAPIDES

BEFORE ME, the undersigned Notary Pizblie, duly commissioned and qualified in this
state and parish, personally appeared:

KENNETI~I L. PEREGO, ll
who after being duly sworn, did depose and state that he is a Petitioner in the above and
foregoing numbered and entitled cause, that he read the same, and that all of the allegations

contained therein are true and correct to the best of his knowledge1 information and belief

KENNETH L. PEREGO, II

SWORN 'I`O AND SUBSCRIBED before me this §§ (p\jrday of ZEQQ\QE § , 2016,
at Alexandn`a, Louisiana.

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DIVISION
KENNETH L. I’EREGO, II, individually NIN'I`H JUDICIAL DIS'TRICT COURT
and on behalf of his minor son,
KENNETI~I L. PEREGO, III
and WENDY PEREGO
VERSUS PARISH OF RAI’IDES
ACADIA HEALTHCARE d/b/a STATE ()F LOUISIANA
.LONGLEAF HOSPI'I`AL

VERIFICATION

STATE OF LOUISIANA
PARISH OF RAPIDES
BEFORE ME, the undersigned Notary Pnblic, duly commissioned and qualified in this
state and parish, personally appeared:
WENDY PEREG()
who after being duly sworn, did depose and state that she is a Petitioner in the above and
foregoing numbered and entitled eause, that she read the saine, and that all of the allegations

contained therein are true and correct to the best of her knowledge information, and beliet`.

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at Alexandria, Louisiana.

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*“~ r'°
Cl'vlL sort No. 55
DIVISIoN

KENNETH L. PEREGO, II, individually NINTH .}UD!CIAL DISTRICT COU_RT
and on behalf of his minor son,

KENNETI‘I L. PEREGO, III

 

and WENDY PEREGO
VERSUS PAR[SH OF RAPIDES
ACADIA HEALTHCARE dib/a STATE ()F `{_.OUISlANA
LONGLEAF HOSPITAL

dean

CONSIDERING THE FOREGOING REQUEST FOR TRIAL BY IURY,

IT IS HEREBY ORDERED, AD}UDGED AND DECRE,ED that this ease by died byjury
as to all issues herein, upon Plaintiffs complying With LSA-C.C.P. Artic§es 1733, 1734 and 1734.1.

IT IS HEREBY FURTHER ORDERED that the jury bond to cover all costs related to triai

_¢»H
by jury is hereby fixed in the amount of $ 1560 109 , which may be

deposited in cash or by bond With good and solvent surety thereof Said bond is to be posted no

laterthan l@<‘) days prior to trial.

THUs DoNE AND sIGNED this 341 day of ALM,(.

\\

, 2016, in
Alexandria, Rapides Parish, LA.

l Wv» LA€-"$F"~_~'
§UDGE, NINTH IUDIC[AL"l)ISTRICT COURT,
PARISH OF RAPIDES, STATE OF LOUISIANA

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DIVISION___ §
KENNETH L. PEREGO, II, individually NIN'I`l-I JUDICIAL DISTRICT COURT
and en behalf of his minor son,
KENNETH L. PEREGO, III
and WENDY PEREGO
VERSUS PARISH ()F RAPIDES
ACADIA HEAL'I`H(JARE d/b/a S'[’ATE OF LOUISIANA
L¢)N GLEAF I-IOSPITAL

 

REQUEST FOR NOTIC‘E

Pursuant to Article 1572 of the Louisiana Code of Civil Proeedure, it is requested that
written notice of the date set for trial of this eause, of this date set for trial ot` any pleadings or
motions therein, be provided to undersigned counsei, at least ten (10) days before any ttial date

lt is also requested that notice of signing of any final judgment or of the rendition of any
interlocutory order er judgment in this cause be provided to undersigned counsel, as provided by

Artieies 1913 and i914 of the Louisiana Cede of Civil Procedure.

Respectfuliy submitted,

FAIRCLOT OBEL, LLC

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By:

Iimtn R. Faircioth,llr. La. Baer¢iS
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Brook L. 1 a La.§zir Roll #31988

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Fax (318} 619-7744 §§
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